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WM 20-463 JP
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LISA DEMELIO,
Plaintiff,
-against-
WAL-MART STORES EAST, LP,
Defendant.

 

TO THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK:

Docket No.:

NOTICE OF REMOVAL

Defendant, WAL-MART STORES EAST, LP, for the removal of this action from

the Supreme Court of the State of New York, County of ROCKLAND, to the United States District

Court for the SOUTHERN District of New York, respectfully shows this Honorable Court:

FIRST: Defendant, WAL-MART STORES EAST, LP isa defendant ina Civil

action brought against it in the Supreme Court of the State of New York, County of ROCKLAND,

entitled:
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SUPREME COURT OF THE STATE OF NEW YORK

 

 

COUNTY OF ROCKLAND
LISA DEMELIO, * Index No.: 034940/2020
Plaintiff,
-against-
WAL-MART STORES EAST, LP,
Defendant.
x

Copies of the Summons, the Complaint, and WAL-MART STORES EAST, LP’s Answer are
annexed hereto as Exhibit “A”.

SECOND: That this action seeks recovery for damages sustained as a result of
personal injuries allegedly suffered by the plaintiff while on the defendant's premises.

THIRD: The grounds for removal are that this Court has original jurisdiction
pursuant to 28 § 1332(a)(1). The amount in controversy exceeds the sum or value of $75,000,
exclusive of interests and costs, and is between citizens of different States. Annexed hereto as
Exhibit “B” is defendant’s Combined Discovery Demands. Annexed hereto as Exhibit “C” is
plaintiff's Response to Combined Demands, received by this defendant on February 10, 2021.

FOURTH: The defendant, WAL-MART STORES EAST, LP, is a Delaware limited
partnership with its corporate headquarters and principal place of business in Arkansas. WSE
Investment, LLC, is the limited partner of WAL-MART STORES EAST, LP, and WSE
Management, LLC is the General Partner. Both are Delaware companies with their principal places
of business in Arkansas. The sole member of both limited liability companies is Wal-Mart Stores

East, Inc. Wal-Mart Stores East, Inc. is a citizen of Arkansas. It is incorporated in Arkansas and

its principal place of business is in Arkansas. Thus, for diversity purposes, the defendant is a citizen
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of Arkansas. See Carden v. Arkoma Assocs., 494 U.S. 185, 195-96, 110 S.Ct. 1015, 108 L.Ed.2d
157 (1990) (stating that, for purposes of diversity jurisdiction, limited partnerships have the
citizenship of each of its general and limited partners); Cosgrove v. Bartolotta, 150 F.3d 729, 731
(7th Cir.1998) (stating that, for purposes of diversity jurisdiction, a limited liability company has
the citizenship of its members).

FIFTH: That upon information and belief Plaintiff is a citizen of the State of New
York, County of ROCKLAND.

SIXTH: In that this action is between citizens of different states and seeks damages
in excess of $75,000.00, than pursuant to 28 U.S.C.A. § 1332 and 28 U.S.C.A. § 1441 and § 1446
the case should be removed from the Supreme Court of the State of New York, County of
ROCKLAND to the United States District Court for the SOUTHERN District of New York.

Dated: Northport, New York
March 4, 2021

Yours, etc.

BRODY, O’CONNOR & O’CONNOR, ESQS.
Attorneys for Defendant

FS Ae Petr ret:

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